                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )         Criminal No. 3:15-cr-00158-5
                                                  )         Judge Trauger
HUBERT DIAZ URIOSTEGUI                            )
                                                  )

                                         ORDER

       It is hereby ORDERED that the sentencing of this defendant scheduled for October 23,

2017 at 3:00 p.m. is RESET for the same day at 11:30 a.m.

       It is so ORDERED.

       ENTER this 12th day of September 2017.




                                                  ________________________________
                                                  ALETA A. TRAUGER
                                                  U.S. District Judge




                                              1

 Case 3:15-cr-00158       Document 196       Filed 09/12/17      Page 1 of 1 PageID #: 869
